                              IN THE UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF IOWA
                                                    WESTERN        DIVISION
UNITED STATES OF AMERICA,                                                        HEARING MINUTES Sealed: No
            Plaintiff,                                                           Case No.: 07-cr-04092-LTS-KEM-1
      vs.                                                                 Presiding Judge: Leonard T. Strand
VICTOR GUTIERREZ,                                                            Deputy Clerk: Allison Linafelter
            Defendant.                                              Official Court Record: Shelly Semmler     Contract?            No
                                                                     Contact Information: SSemmlerReporting@gmail.com
Date:   10/04/2021   Start:       2:01PM     Adjourn:     2:40PM       Courtroom:    Donald E.
                                                                                     O’Brien
Recesses:                          n/a                        Time in Chambers:                  n/a                 Telephonic?   No
Appearances:      Plaintiff(s):    AUSA Forde Fairchild
                Defendant(s):      John Greer (defendant present)
               U.S. Probation:     PO Chris Hopper
                   Interpreter:                   n/a                 Language:           n/a          Certified:   n/a   Phone:   n/a
TYPE OF PROCEEDING:            DETENTION             REVOCATION           X    PRELIMINARY EXAMINATION
                                                                            Contested? Yes Continued from a previous date? No
               Moving party:               Government (Doc. 62 (sealed))
               Nature of proceedings:                      Ruling:
               Review of detention or conditions
               Review of pre-trial release
               Review of supervised release           X Supervised release revoked; 8 months’ imprisonment BOP. 1 year of
                                                           supervised release to follow; special conditions imposed; all other
                                                           conditions unchanged.
               Preliminary examination
               Witness/Exhibit List is Defense witness Minerva Topete (direct 2:07-2:13PM) (cross 2:13-2:14PM)
               The offering party must, within 3 days after the hearing, file in electronic form any exhibit that was not filed with a
               motion, resistance, or other filing related to this hearing. Pub. Admin. Order 09-AO-03-P (5/29/09) ¶7.
               Miscellaneous: Defendant admits all violations (1-3), including subparts. Those violations established.

                                   Placement at Greenville or as close as to home as possible.

                                   Defendant detained.




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